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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

WILLIAM MARSH RICE UNIVERSITY,                    §
                                                  §
               Plaintiff,                         §
                                                  §
v.                                                §        Civil Action No. 4:21-cv-00667
                                                  §
WINSTON GANDY,                                    §
                                                  §
               Defendant.                         §


                            WILLIAM MARSH RICE UNIVERSITY’S
                            NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, plaintiff William

Marsh Rice University, by and through its undersigned counsel, hereby voluntarily dismisses the

above-styled action in its entirety, with prejudice to the refiling of same.

                                                   DRUMHELLER, HOLLINGSWORTH & MONTHY, LLP

                                                   /s/ Anthony D. Drumheller
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                                                   WILLIAM MARSH RICE UNIVERSITY
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